Case 2:04-cr-20359-.]PI\/| Document 166 Filed 06/24/05 Page 1 of 3 Page|D 229

IN THE UNITED STATES DISTRICT COURT “L¢J 47
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION §§ le

 

UNITED STATES OF AMERICA

 

Plaintiff,

Criminal NO. QHL:-ZO§§E Ml

FORDH)\: 1an REZ RU/Z

(90-Day Continuance)

 

 

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Defendant(s).

 

REPORT ON FUGITIVE STATUS AND RESETTING

 

As indicated by the signature of counsel for the United
States, through its Assistant United States Attorney, this case
remains an active case and there are continuing efforts to locate
the above-referenced fugitive defendant(s). A follow-up report
on efforts to bring the above-referenced fugitive defendant(s)
before the Court will be made on Fridav, Sebtember 23, 20051 at
10:30 a.m.

so oRDERED this 24th day of June, 2005.

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PHIPPS MCCALLA
TED STATES DISTRICT JUDGE

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§séistant Unit§H`Biates Attorney w§d@mmmmememdon;;:::i&l:jgllfcds:i
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UNITED `sATEs DISTRIC COUR - W'"ERNT D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 166 in
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Honorable J on McCalla
US DISTRICT COURT

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